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| NATIONALFastCash wy

   
 

_> EASY QUALIFY!

NATIONALFastCash
-No Credit Checks!“*

*No Paper Hassies!*
«Nothing to Fax!*

APPLY ONLINE

“The service is excellent .., it’s.a
lot more convenient than gaing
into the office and waiting hours
upon hours to get approved.”

Samuel
Park Forest, it.

“the representative | talked ta
was real great and they went.over
the details with me anc explained
to me plece by piece and T want to
say thank you...”

: _ Zanetta
| Mingwood, TX

 

 

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HOW AT WORKS = TESTIMONIALS «= QUESTIONS? «PRIVACY POLIGY «= REFART SPAM

APPLY NOW
+ SEE HOW MUCH YOU CAN GET... ONLINE!

This site will match you. with s rash advance lender.
Plaase complete your information correctly below.

 

‘First Name: Last. Nama:

j

 

[Matiingly_tsstest | [Tomille_isstest
*Address:

[7009 Greenville-spartanb|

City: Country:
Columbus United States
State: ZIP:

* Work Phone: Ext:
[285-555-6613 ||
Email: ?Date of Birth: —
. September ~ 23 y 1973 +
Must be at least 18 years ald

“# Monthly Income:

${4617 _|.00

ARE YOU a regular or reserve member of the Army, Navy, S
Marine Corps, Air Force, or-Coast:Guard, serving on active duty

 

 

 

 

 

BE ae EST MRI STE Ug Te

under a call or order that.doas not specify a period of.30 days a
or fewer (or a dependent of such member). More Informatian F
“ Yes 9" No :
How do you receive your pay; 5
Electronic: Deposit into Checking account v i
* How often.are you paid? Every Week vv

Which day? Monday +

 

By submitting your information you agree te the terme of our

Oriveev Potiey and T.

‘ernis of Website tee,
HELPING THOUSANDS QF PEOPLE EVERY DAY!

 

 

 

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REPORT SPAM

| NATIONALFastCastex “HOU HCERS—UGSTAKILS HESTON

 

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How tong have you.

 

 

 

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Bank Account L chm Nasi bee meee
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2? Account Number: fo
Minimum Loan Amount: »:

 

 

 

 

HELPING THOUSANDS UE PEOPLE EVERY DAY

 

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t

Personal:information Page: On the 1‘ page of the Application process, the Applicant provides Name, Address, Email
Address, Home Phone, Cell phone, Social Security Number, and Date of Birth then clicks on““Continue”.

 
 
   
    
  
  

  

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FASTCASH"

“Where America Gets a Loant ®

“I always choase S00 Fast Cash because all
representatives are helpful and it's a company that
when i need it, it is there to helptit”

~ Michelle, Nd

  

 

 

 

 

Hi23 45 PERSONAL INFORMATION NEED HELP Y
First Namet Initialt Last Nama

iMcroberts_tsstest | | [Marzinno_tsstest |

P Address: City:

[1347 SantaCruzDr | ~~ [Santa Barbara-santa Md

State: Zips Email Address: “‘PHome Phones

 

[nv -x J) [46855 | [45318182@tssmasterd.| [663-555-3343

Call Phona:

282-555-9670 Required for loan updates. via tant message
Driver's License #1 Stater ¥Soclal Security #1

12501073 [uv =] (896 | - [49] - [4399]
“Pairthdate:

 

&y submitting your information you agree to the terns
of our &rivacy Policy and Ternis of Website Use,

 

 

 

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Employment Information Page: On the 2" page of the Application process, the Applicant provides their Income Source,
Employer Name, Work Phone, Verify Military Status (covered/not covered), Monthly Income Amount, How they Receive their
Pay, How often they are Paid, and Which Day they are Paid then clicks on “Continue”.

 

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ASTCZ3H"

—-Whare Amorica Gets a Loan! ©

   

“Service is great, expediant and professional.
| enjoy doing business with your customer
service reps. Thank you.”

~ Sarah, NY

  

1243 45 EMPLOYMENT INFORMATION seep neve?
ae Sees = What is your main source of your Incoma?

‘PHave you been employad or recelving @ yes f po

 

 

aie — i a benefits for at least 3 months?
“PEmployer Name: Work Phona: Work Extt
|Metrolab | [503-555-3818 } |
Are you a covered member oy the dependent of acavered . yas © No

 

meriber of a branch of the U.S, Military? **

“?What is your monthly Income? (aftertanes) | 4098

How do-you recieve your pay?

 

Electronic Deposit into Checking account zi

tow oftan aravou pa
Which day? Monday x]

 

 
 

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Banking Information Page: On the 3” page of the Application process, the Applicant provides their Bank Name, ABA/Routing
Number, and Account Number then clicks on “Continue”.

 

 
 

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i enjoy doing business with your customer
service reps. Thank you.”

   
  
   
  
  
 
  
  

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Te ee Rae Sey

— Sarah, NY

  

NEED HELP?

1 284 5 BANKING INFORMATION
“Bank Names

Bank Check Example:

 
     

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WURS ME on 102

 

 

     
  

Yeee Tose, OA 115 - PE
"Ghee al YS
YOUR VOIDED- CHECK :
F508 seatseesece yee eee tieentutciem copa nite ee anata onan pent mentee

   

hat MEW

 
   

e894 SE 7h930

 
 

Check Number

 

4 Bank Accent:
g sting
Nennbe wt Number

2 Account Number

57862878

P ABA/Routing Numban

122216439

(typically only 9 digits)

 

 

 

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Personal References Page: On the 4" page of the Application process, the Applicant provides two Personal References
including their Name, Relationship, and Phone Number then clicks on “Continue”.

 
   

  
 
  
  

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gee" Whore America Gets & Loan! ®

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f enjoy doing business with your customer
service reps. Thank you.”

- Sarah, NY

ee
SEED HELP?

123285 PERSONAL REFERENCES

 

REFERENCE ONE: REFERENCE TWO:
Namet Namet
‘Relationship:to you: Relationship to your
[tosiokes =)
Phone number Phone number. :

253-555-8314 611-555-7574

Notice: We are required by law to adopt procedures to raquast and retain in our records
information necessary to verify your Identity,

 

 

 

 
   

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Final Step: On the 5"" page of the Application process, the Applicant must acknowledge that they have read and agree to all

Notices and Disclosures by clicking on the check box. To submit the application for processing, the Applicant must also enter
the Verification Code then click.on “Continue”.

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“Service is great, expedient and professional.
f enjoy doing business with your custamer
service reps. Thank you.”

~ Sarah, NY

2 3 4&3 FINAL STEP

NEED HELP?

 

a
Notices and Disclosures |
You are submitting an application to Red Cedar Services, Inc. dba
500FastCash via the Internet. In order to process this application,
SO0FastCash needs You to agrae to receive certain disclosures and
documents electronically, This Electronic Disclosure and Consent

Agreement applies to this application and any other communications We
ay provide to You during the process of Your applying for oy Us servicing
ur account. By submitting Your application You agree to racaive all such 7

have read and agree to all the notices and disclosures above.
This is for your protection.

is feature prevents automated programs.ftam applying without
your knowledgé ™

 

 

 

Please ‘allow up to 2 minutes for your appitc A f
Do not click the “back” button on your browser after you Fubmit your applcae a

 

 
   

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Confirmation and.ESignature Page:.On the 6" page of the Application process, the Applicant completes their Loan
Application request. They are shown the maximum amount in which they are “Pre Approved” to receive and the opportunity
to select a lesser amount from the drop down box. A hyperlink to the Loan Documents is provided so that the Applicant
reviews. To finalize the Application request, the Applicant must click on each check box acknowledging that they have read
and agree to the terms and provisions of all the Loan Documients, provide their ESignature, and click on "| Agree”.

 

 

   

500FastCash’? has Pre-Approved you'for. up to: $400
Your first due date will be 04/29/2012

 

Confirmation Number:

   
  

w amount?

‘| $400 =]

    

If you would like less cash, please choose a jf om the drop-box below:

   

Desired loan amount

  
 
 
    
  

 
 

Sense The terms of this: Joan are ‘described in-the.L Loan NOTE: AND: DISCLOSURE an
eo Rlease review and confirm that. you agree to the terms. ‘of: the. following related documents, “

 

V en each to confirm)
1 sie f° Ihave ead and accept the tarms of the Apolication, including the terms and provisions of the
j LIMIT! fy WAIVER OF SOVEREIGN IMMUNITY and tha ARBITRATION PROVISION contained therein,

pad and accept the terms of the Privacy Policy & Electronic Disclasure and Congant:
int,

   
 

‘sie J7 1 have rgad and accept the terms of the Authorization Agreement,

  
  

  
 

 

provisions of the LIMITED WAIVER OF SOVEREIGN IMMUNETY and the ARBITRATION PROVISION

pg J~ Thave iad and accapt the terms of the Loan Note and Disclosure, including the tarms and
} ; d therein,

  
  

 

 

& yf? "has: developed a comprehensive Loan Alert system, Including text. t messaging, By selecting i :
Band fat all Alerts you.agree to receive text | messages, from_<¢ our Loan Alert System, ‘Standa ssage.
“and data rate may: apply. See, © Application a for full detalls. ar ean

 

       

ss Text: and Email Alerts -
© “Email Alerts: ‘Only,

 

By typing your full name. below to provide your Electronic Signature and clicking the "I Agree" button, .
you agree to accept this loan pursuant to the terms and provisions of all the loan documents above..

  

 

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Type’ Aull name (Mcrobertstsstest Marzinnotsstest)-In the bowediic ve ‘

 

 

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Thank-You Page: On the 7" page of the Application process, the Applicant is informed that they will be receiving an email
containing their User ID and Password to the Lender’s website. The Applicant is also provided with the option to print a copy

of their Loan Documents.

 

service reps. Thank you.”

— Sarah, NY

ra You ooo Neon reve ron pre- a

Eye aces) baa ads) ount aS

You. will receive an e-mail from us momentarily containing
your user ID and password which will allow you to check
a the status. of your loan.

a PLEASE: CHECK YOUR: INBOX AND > ANY: SPAM FOLDERS FOR YOUR LOAN
‘STATUS: E-MAIL!

B Due to increasing e-mail restrictions this e~mail may accidentally be marked as
spam and sent to your Bulk Mail (Yahoo!), Junk Mail (MSN Hotmail) or Spam
(AOL) folder.

CLICK HERE,

 

 

  

1.

 

 

 

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APPLICATION - LOAN DOCUMENT (PAGE.1 OF 3)

Applicant: THORNSTSSTEST
CASTELLITSSTEST Application
Loan ID: 500FastCash-1938396888 _ _

_ Date : 04/05/2012
Company: 500fastcash.com 33820

 
   
   

   

  

 

Paiitlaty

 

   
   

Name: THORNSTSSTEST CASTELLITSSTEST

 

 

 

 

Address: 11922 CHARLOTTE-GASTONIA DR 1043
E-Mail address: 80776293@TSSMASTERD.COM City, State, Zip: Oklahoma City NJ 30254
Home Phone #: (531) 555-9261 Country: USA
Cell Phone: (939) 555-9359 [Driver's State/License: 99526889

 

   
 
  
   

 

Source of Income: benefits

 

 

 

 

‘|Employed 3+ Months:Yes iMilitary: No
Employer: WILLIS RE INC [Monthly Income’: $4,883.00
Work Phone: (751) 555-2287 jMethod of Payment: Direct Deposit
Work Ext: [Frequency of Payment: weekly

 

Work Shift:

 

 

  

Name: SHAMIKA_TSSTEST S "|Name: LAQUINTA_TSSTEST SPADE TSSTEST
Relationship: EXTENDED FAMILY Relationship: EXTENDED. FAMILY
Phone: (912).555-6565 Phone: (521) 555-1818

“Monthly income may include Your annual'salary, pension, social security or other sources of Income afler taxes are deducted. Alimony, child support or separate
maintenance income need nol be revealed if You do not wish to have it considered as a basis for repaying this obligation.

“Projected Next 4 Paydates — based on Information supplied in application regarding frequency paid, days of week paid and payment melhod.

*“By submilling these Individuals as references on Your account, You grant Red Cedar Servicas, Inc. dba 500FastCash express permission to contact these
individuats in attempt to locate You for collection purposes. In addition, should We make contact with one of these Individuals, You grant S00FastCash express
permission to discuss Your 500FastCash account with said individual. This means that We may disclose to these individuals the fact that You have an account with
500FastCash and that We are altempting to reach You regarding Your account. We will not disclose account terms, status, current balance to any third party unless
expressly authorized to do so,

 

 

 

 

 

 

 

Notice: In order to comply with the requirements of Section 326 of the USA Patriot Act, We are required by law to adopt procedures {o request and retain in Our
records Information necessary to verify Your identity.
Application Supplement Notice: A short term loan provides the cash needed to meet an Immediate short-term cash flow problem. itis not a solution for longar term
financial problems for which other types of financing may be more appropriate. You may want to discuss Your financial situation with a non-profit financlat counseling
service available in Your community.
Aargement to Be Contacted: By providing Your telephone number(s), You authorize 800FastCash, its affillates and / or agents to contact you at such number(s)
using any means of communication, regarding any current or future loans owned or serviced by 500FastCash, its affiliates and / or agents. By submitting any
telephone number in Your toan application, You understand that You are agreeing that You may be contacted by 500FastCash at that telephone number or at any
number that You provide subsequently verbally or in writing to any.of Our employees and You hereby consent to any such calls even ifthe phone number You
provided Is listed on any Do Not Call list. You hereby consent to be called by an automated dialer or similar technology at any phone number You provide in Your
application or that You provide subsequently verbally or in writing to any of Our employees. You authorize s to contact You at any number You have supplied to Us as
a contact phone number at any time up fo 9:00 PM in Your local lime zone. You consent to Our leaving payment reminder voicemails on any number You have
provided to Us as Your home or cell number during the application process or that You provide to Us during the time We are servicing Your account. By submitting
Your email address in Your application You consent to receive email.communications from S00FastCash, You hereby consent to any such email so it will not ba
considered spam or unauthorized by any local, state or federal law or regulation. You must notify Us of Your email addrass change. You agree to receive all currant
and future nollces, disclosures and communications from 500FastCash electronically in accordance with the Consent to Electronic Disclosure located at
http://S00fastcash.com/?page=info_edisclosure

onsent to Autodial Call Phone an: Wireless Device: By providing S00FastCash with a telephone number for a cellular phone or other wireless device, You
are expressly consenting to receiving communications at that number including but not limited to prerecorded or artificial voice message calls, text messages, and calls
made by an aulomatic telephone dialing system from Your lender its affiliates and agents. This express consent applies to each such telephone number that You .
provide to Your lender now or In the fulure and-permits such calls regardiess of their purpose. These calls and messages may incur access fees from Your cellular”
Provider. You acknowledge and agres that any charges incurred for receipt of messages sent via SMS text-messaging or requiring the use of web browser via cellular
phone to receive are solely Your responsibility. rs
Borrower's Consent to Processing: By clicking on any button indicating an acceptance or.agreemant to terms, a continuance of processing or submission You
understand that You are agreeing {o the stated tarms and conditions of that submission. You represent that all of the information You ided’
~~-appileation is trua; correct and complete: By ‘submitting this application, Youaultiorize’ 500FasiCash to Verify any Information that You | ed and acknowledge. :
__ Ahat-this information may.be.used to verify past.or.currenLeredit.or paymant history information. from.a.thifd-party.sourcé(s)- such aé-a-consumer reporting-agency. We-----~-
may disclose ail ar some of the non-public personal information about You thal We collect to financial service providers that perform services on Our behalf, such as

   
 
 

   

   

 

 

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‘

APPLICATION — LOAN DOCUMENT (PAGE 2 OF 3)

{he servicer of Your loan and to financial institutions with which We have foint marketing arrangements. Such disclosures are made as necessary to affect, administer
and enforce the foan You have requested.

 

PLEASE READ THE FOLLOWING CAREFULLY AS IT IMPACTS YOUR LEGAL RIGHTS.

 

LIMITED WAIVER OF SOVEREIGN IMMUNITY: AS A WHOLLY OWNED SUBDIVISION OF A FEDERALLY RECOGNIZED INDIAN TRIBE, Red Cedar Services,
inc. dba 500FastCash, AND ITS DIRECTORS, OFFICERS, AND EMPLOYEES ACTING WITHIN THE SCOPE OF’ THEIR AUTHORITY, ARE NOT SUBJECT TO
SUIT IN ANY COURT IN ANY JURISDICTION, OR ANY OTHER FORUM, ABSENT A WAIVER OF SOVEREIGN IMMUNITY. SOLELY IN ORDER TO PROVIDE
FOR THE RESOLUTION OF A DISPUTE THAT WE CANNOT RESOLVE TO YOUR SATISFACTION, SHOULD ANY OCCUR, Red Cedar Services, Inc. DBA
500FastCash HEREBY CONSENTS TO A LIMITED WAIVER OF SOVEREIGN IMMUNITY, AS EXPRESSLY SET FORTH HEREIN, AND FURTHER LIMITED BY
THE ARBITRATION PROVISION CONTAINED HEREIN. THIS LIMITED WAIVER IS STRICTLY LIMITED TO INDIVIDUAL ARBITRATION CLAIMS AS SET FORTH:
BELOW AND JUDICIAL ACTIONS TO ENFORCE SUCH INDIVIDUAL ARBITRATION AWARDS.AS STRICTLY LIMITED HEREIN.

PLEASE BE ADVISED THAT IF YOU CHOOSE TO OPT OUT OF THE. FOLLOWING ARBITRATION PROVISION AS DETAILED BELOW, YOUR ONLY OPTION
OF PURSUING A CLAIM AGAINST US FOR ANY UNRESOLVED DISPUTE WILL BE TO TRY TO BRING AN ACTION IN A COURT OF COMPETENT
JURISDICTION, IF ANY EXISTS, BUT.IN ADDITION TO PROVING YOU ARE ENTITLED TO ANY RELIEF OR DAMAGES FROM Red Gedar Services, Inc. DBA
S00FastCash, YOU MAY ALSO HAVE TO PROVE THAT WE ARE NOT ENTITLED TO THE BENEFITS AND PROTECTIONS OF SOVEREIGN IMMUNITY.

ARBITRATION PROVISION: If any dispule arises that We cannot resolve to your satisfaction, You and We hereby agree that we shall arbitrate that dispute in
accordance with the terms of this Arbitration Provision, absent You notifying Us of your intent to opt oul of this Arbitratlon Provision as described below.

Arbilration is a process in which persons with a dispute: (a) waive their rights to file a. lawsuit and proceed in court and to have a jury trial to resolved their disputes; and
(b) agree, Instead, to submit their disputes to a neutral third person (an “arbitrator’) fora decision. Each party to the dispute has.an opportunily.to present evidence to
the arbitrator. Pre-arbitralion discovery may be limited or unavailable. Arbitration proceedings are private and lass formal than court trials. The arbilralor will issue a
final and binding decision resolving the dispute, which may be.enforced as a court judgment. A court rarely overturns an arbitrator's decisions.

As used herein, the words "dispute" and "disputes" are given the broadest possible meaning and include, without limitation and whether past, present or fulure: (a) all
claims, disputes, or controversies arising from or relating directly or indirectly to the signing of this-Arbilration Provision, Including the validity and’ scope of this
Arbitration Provision, or any claim, dispute, or controversy relating to the interpretation, applicability, enforceability or formation of this Note, including, but not limited to
any claim that all or any part of this Note or Arbitration Provision Is void, voidable, invalld or unenfarceable; (b) all federal or slate law claims arising from or relating
directly and/or indirectly to this Note, the information You gave Us befora entering into the Note, and/or any past agreement or agreements between. You and Us; (c) ail
counterclaims, cross-claims and third parly claims; (d).all common law claims, based upon contract, tort, fraud, or other intentional torts; (e) all claims based upon a
violation of any state or federal constitution, stalule or regulation; ( ail claims asserted by Us against You, including-claims for money damages to collect any sum We
claim You owe Us; (g) all claims asserted by You individually against Us, and/or any of our Directors, Officers, Employees acting within the scape of their authority, any
of our agents or servicers and/or any of their employees, directors, officers, shareholders, governors, managers, members, parents, subsidiaries, or any affiliated
entilies (hereinafter collectively refered lo as “related third parties’), including claims for money damages and/or equitable or injunctive relief; (h) all claims asserted on
your behaif by another person; (i) all claims asserted by You as a private attorney general, as a tepresentative and/or member of a class of persons, and/or in any
other representalive capacily against Us and/or related third parties (hereinafter referred to as-"Representative Claims"); and/or 4) all claims arising from or relating
directly or Indirectly te the disclosure by Us or related third parties of any non-public personal Information about You.

Any party to a dispute, including You, Us and/or related third parties, may send the other party(s) written notice by certified mail return Teceipt requested of their intent
to arbitrate and selling forth the subject of the dispute along with the rellef requested, even If a lawsull has been filed, Regardless of who demands arbitration, the
arbitration shall occur before the American Arbitration Association (1-800-778-7879; hito:/www.adr.org). However, the parties may mutually agree to'select a different
arbitrator who is an altorney, retired judge, or arbitrator registered and in good standing with an arbitralion association and arbitrate pursuant to such arbitrator's rules.
The party receiving notice of arbitration shall respond in writing by certified mail retum receipt requested within twenty (20) days: All parties to such dispute will be
governed by the rules and procedures of the American Arbitratlon Association applicable to consumer disputes, to the extent those rules and procedures do not
contradict the express terms of this Note or this Arbitration Provision, including the limitations on the arbitrator below. You may obtain a copy of the rules and
procedures by contacting the American Arbitration Association (1-800-778-7879; hito:/veww.adr.urg),

Regardless of who demands arbitration, We will advance your portion of the expanses associated with the arbitration, including the filing, administrative, hearing and
arbitrator's fees ("Arbitration Fees"). Throughout the arbitration, each party shall bear his or her own attorneys‘ feas and expenses, such as witness and expert wilness
fees. The arbitrator shall apply applicable substantive law consistent with the Federal Arbitration Act, 9 U.S.C. §§ 1-16 ("FAA") and applicable statutes of fimitation, and.
shali honor claims of privilege recognized at law. The arbitration hearing will be conducted in the county of your residence, uniess You agree to a different location, In
conducting the arbitration proceeding, the arbitrator shall not apply any federal or state rules of civil procedure or evidence. if the arbitrator renders a dacision or an
award in your favor resolving the dispute, the arbitrator shall award You reasonable altorneys' fees. If the arbilrator renders a decision or an award. in your favor
resolving the dispute then You will not be responsible for reimbursing Us for your portion of the Arbitration Fees and We will relmburse You for any Arbitration Fees
You have previously paid. Regardless of whether the arbitrator renders a decision or an award in your favor resolving the dispute, You will not be responsible for
telmbursing Us for your portion of the Arbitration Fees and We are not entitled fo an award of altorneys' fags, At the timely request of any party, the arbitrator shall
provide a written explanation for the award, The arbitrator's award may be filed with any court having competent Jurisdiction.

You and We expressly acknowledge and agree that this Arbitration Provision is made pursuant to a transactlon involving interstate commerce and shall be governed
by the FAA. if a final, non-appealable judgment of a court having competent jurisdiction over this transaction finds, for any reason, that the FAA does not apply to this
transaction, then our agreement to arbitrate shail be governed by (he arbitratlon law of the Modoc Tribe of Oklahoma. , . o

This Arbitration Proviston Is binding upon and benefits You, your respective helrs, successors and assigns. This Arbitration Provision is binding upon and benefits Us,
our successors and assigns, and related third parties. This Arbitration Provision survives the termination of the relationship between You and Us, and continues In full
~~force and effect, everrif your obligations‘ have been cancelled by prepayment; pald or discharged ‘through bankruptcy. This Arbitration Provision survives ary” ,
termination, amendment, -expiration.or. performance of any.transacllon.between-You.and.Us-and.continues In-full force.and effect Gnlass You-and.We.olherwise QBs.
in writing. You hereby acknowledge and expressly agree that by execuling this Note, submitting it to Us, and accepting the loan proceeds without cancelling your Loan:

  

    

 

 

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APPLICATION — LOAN DOCUMENT (PAGE 3 OF 3)

BY AGREEING TO THE TERMS OF THIS ARBITRATION PROVISION, YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU ARE WAIVING YOUR RIGHT
TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED AGAINST US OR RELATED THIRD PARTIES.

THIS ARBITRATION PROVISION DOES NOT PREVENT YOU FROM FILING YOUR DISPUTE WITH ANY FEDERAL, STATE OR LOGAL GOVERNMENT
AGENCY THAT GAN, IF THE LAW ALLOWS, SEEK RELIEF AGAINST US ON YOUR BEHALF,

UNLESS YOU EXERCISE YOUR RIGHT TO OPT OUT OF THIS ARBITRATION PROVISION, AS DESCRIBED BELOW, YOU WILL-BE FOREVER BOUND BY
THE TERMS OF THIS ARBITRATION PROVISION. THIS ARBITRATION PROVISION LIMITS CERTAIN OF YOUR LEGAL RIGHTS, INCLUDING ANY RIGHT
YOU MAY HAVE TO PURSUE A CLAIM OR DISPUTE IN A COURT OF COMPETENT JURISDICTION, YOUR RIGHT TO A JURY TRIAL, AND YOUR RIGHT TO
PURSUE A CLAIM OR DISPUTE AS A GLASS ACTION OR SIMILAR PROCEEDING. IN ARBITRATION, A DISPUTE IS RESOLVED BY AN ARBITRATOR
INSTEAD OF A JUDGE OR JURY.. ARBITRATION PROCEDURES ARE SIMPLER AND MORE LIMITED THAN COURT PROCEDURES.. YOU SHOULD
CONSULT LEGAL COUNSEL TO DETERMINE WHETHER THIS ARBITRATION PROVISION IS APPROPRIATE FOR YOU, BY EXECUTING THIS NOTE,
SUBMITTING IT TO US, AND ACCEPTING THE LOAN PROCEEDS WITHOUT CANCELLING YOUR LOAN, YOU HERBY AGREE AND ACKNOWLEDGE THAT
YOU HAVE HAD THE OPPORTUNITY TO.NEGOTIATE THE TERMS OF THIS ARBITRATION PROVISION WITH US BUT HAVE CHOSEN NOT TO AND HAVE
HAD THE OPPORTUNITY TO SEEK THE ADVICE OF LEGAL COUNSEL, THIS ARBITRATION PROVISION IS THEREFORE TO BE INTERPRETED AND
APPLIED SUCH THAT YOU AND WE HAVE EQUAL RIGHTS UNDER IT, YOU GAN OPT OUT OF ARBITRATION PROVISION BY FOLLOWING THE
INSTRUCTIONS IN THE NEXT PARAGRAPH OF THIS ARBITRATION PROVISION,

OPT-OUT OF ARBITRATION PROVISION: YOU (BUT NOT WE) HAVE THE SOLE RIGHT TO REJECT THIS ARBITRATION PROVISION AS A MEANS OF
ATTEMPTING TO RESOLVE DISPUTES WITH US AT ANY TIME WITHIN THIRTY (30) DAYS FOLLOWING YOUR ELECTRONIC SIGNATURE ON THIS NOTE.
THAT IS, IF, AFTER SIGNING THIS NOTE, YOU CHOOSE TO NOT BE BOUND BY THE ARBITRATION PROVISION AS A MEANS OF RESOLVING DISPUTES,
THEN YOU CAN REJECT THE ARBITRATION PROVISION BY GIVING US WRITTEN NOTICE OF YOUR REJECTION OF THE ARBITRATION PROVISION BY E-
MAILING US AT ARBITRATIONOPTOUT@S00fastcash.com. YOUR E-MAIL TO US OPTING OUT OF THIS ARBITRATION PROVISION SHOULD INCLUDE
YOUR NAME, ADDRESS AND THE LOAN ID IDENTIFIED ABOVE AS WELL AS A STATEMENT THAT YOU DO NOT WISH TO RESOLVE DISPUTES WITH US
THROUGH ARBITRATION. YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU MAY ONLY OPT OUT OF THIS ARBITRATION PROVISION IN THE
MANNER DESCRIBED ABOVE AND IT IS NOT SUFFICIENT TO NOTIFY US OF YOUR INTENT TO OPT OUT OF THIS ARBITRATION PROVISION VIA
TELEPHONE OR ANY OTHER MEANS. YOU CAN ONLY REJECT THE ARBITRATION PROVISION UNTIL THE THIRTIETH (30th) DAY, THEREAFTER YOU
WILL BE BOUND BY THE TERMS OF THE ARBITRATION PROVISION. YOUR DECISION TO.OPT OUT OF THE ARBITRATION PROVISION WILL HAVE NO
ADVERSE EFFECT ON YOUR THE SERVICING AND COLLECTION YOUR LOAN. IF YOU REJECT THE ARBITRATION AGREEMENT, YOUR REJECTION
APPLIES ONLY TO DISPUTES ARISING OUT OF THIS NOTE AND NOT TO FUTURE AGREEMENTS BETWEEN YOU AND US,

WAIVER OF JURY TRIAL: BY AGREEING TO THE TERMS OF THIS ARBITRATION PROVISION, YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU
ARE WAIVING YOUR RIGHT TO-HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED AGAINST US OR AGAINST A RELATED THIRD PARTY.

CLASS-ACTION/REPRESENTATIVE WAIVER: BY AGREEING TO THE TERMS OF THIS ARBITRATION PROVISION, YOU HEREBY AGREE AND
ACKNOWLEDGE THAT YOU ARE WAIVING YOUR RIGHT TO PURSUE OR PARTICIPATE IN REPRESENTATIVE CLAIMS AND YOU THEREFORE WILL NOT
BE ALLOWED TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, ORIN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR TO
PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS, IN ANY LAWSUIT FILED AGAINST US AND/OR RELATED THIRD PARTIES, THEREFORE, THE
ARBITRATOR SHALL NOT CONDUCT CLASS ARBITRATION; THAT IS, THE ARBITRATOR SHALL NOT ALLOW YOU TO SERVE AS A REPRESENTATIVE,
AS A PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY FOR OTHERS IN THE ARBITRATION.

By electronically signing this Loan Note and Disclosure, | hereby acknowledge that. have read the Loan Note and Disclosure In Its entirety, that | have carefully
reviewed all of the terms and provisions contained in this Loan Note and Disclosure, that I have fully understand and comprehend the meaning of each and every
word, phrase and provision contained in this Loan Note and Disclosure.and that | hereby agree to abide by and be. bound all of the terms and provisions in this Loan
Note and Disclosure, including the terms and provisions of this Loan Note and Disclosure dealing with the LIMITED WAIVER OF SOVEREIGN IMMUNITY and the
ARBITRATION PROVISION.

(X) (X) THORNSTSSTEST CASTELLITSSTEST (X) 04/05/2012
Printed Name of Applicant . ; Date.

 

 
 

 

   

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PRIVACY POLICY — LOAN DOCUMENT (PAGE 4 OF 3)

PRIVACY POLICY
NOTICE: PRIVACY POLICY UPDATED, EFFECTIVE NOVEMBER 28, 2005

Last Updated: November 2011
S00FastCash is owned by Red Cedar Services, inc. which is a tribally owned corporation chartered pursuant to the laws of the Modoc Tribe of Oklahoma (the “Tribe").

500FastCash maintains an ongoing commitment to ensuring that Your privacy and the personal information You submit during the use.of Our Website and services:
offered at Our Website Is protected. The following Privacy Policy Is provided to better protect Your privacy and explains Our practices. concerning Your personal
information.

Alt information voluntarily submitted by You through the 500fastcash.com Website shall remain Your property. However, 500FastCash shail be free to use such
information for any tawful purposes.

S00FastCash may change this policy periodically by updating this Website. Itis Your responsibility to check this page from time to time to ensure that You continue to
agree with the terms of this Privacy Policy.

Privacy Policy.

"You" or "Your" means You as a participant in or as user of the 500fastcash.com Website and/or services. “We" or "Our" or "Us" means Red Cedar Services, inc.. “Our
Website” means 500fastcash.com.

1. Policy. The Red Cedar Services; Inc. Privacy Policy covers Our treatment and use of personal information ("Personal information") that may be collected when You
are on Our Website and when You use Our services. This policy does not apply to the practices of companies that Red Cedar Services, Inc. does not own or contral,
or to individuals that are not under Red Cedar Services, Inc. supervisory control. Our Website contains links-to other sites and we are not responsible for the privacy
practices of those sites.

2, Collection and Use of Personal Information. This notice applies to all information collected or submitted on Our Website. While.using Qur Website, You may-have
the opportunity to register for services, order products, make requests, and post content. Accordingly, depending on the. process, You may be asked to provide the
following types of Personal Information:

Your Name, Date of Birth, Social Securily Number;

Physical or Shipping Address;

Telephone Number (home, work and mabile / celf);

Email Address;

Credit or Debit Card Infermation, bank account Information, information relaling to monthly income, employment Information and other personal or financial
information:

Age:.and

Gender or Other Demagraphic Information.

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arm

We use this Personal Information to fulfill requests for Our services or products, to contact users regarding changes to Our Website or Our business, and to customize
the content that You might see on Our Website.

We may also log Your IP address, home server domain names, type of cllant computer, type of web browser and operating system when You use Our Website. We
may also use “cookle" files to belter serve Your needs by crealing a customized Website which fits Your needs. We collect and use [P addresses to analyze trends,
administer the site, track user movement, and gather broad aggregate demographic information for reporting and sponsorship purposes..

Please understand that when submitting information You are providing that information on a voluntary basis, The voluntary information provided by You is necessary
when You request information on a foan.at Our Website even if You do-not ultimately choose to participate In receiving a loan. Additionally, personal information may
be collected when You agree {o the terms of this Privacy Policy.at Our Website, but do not complete the full registration process.

3. Compltance with the Gramm-Leach-Billey Act, For purposes of compliance with the Gramm-Leach-Bliley Act, 18 U.S.C. 6802 (Ihe "GLB Act”), this Privacy Policy
shall serve as both Your initial customer relationship and annual “Privacy Notice” as defined under the GLB Act. If You would like to opt-out from the disclosure of Your
personal Information to any third-party for marketing purposes, please click.on the REMOVE ME link located at the bottom of each page of Our Website.

4. We take Your privacy very seriously. Accordingly, we agree that we will only use the information You provide for ihe following specific purposes: to eHectuate a
registration for a loan application made by You; to customize and present adveriising content to You which we think You might ba Interested In; to contact. You
concerning Information about Our company and promotional material from Our partners, conduct research, provide anonymous reporting for Internal.and external ..
clients, when necessary; add information provided by You to Our databases which may be used for future emails or postal mallings regarding site-updates, new . -
products and services, upcoming events, send You newsletters, and/or to give status updates of orders placed onilne. . ~

  

  

__ From lime to time, we may use non-identifiable aggregate Information to better design Our Website and to share with select adv ng partners, sponsors, and/or.
affillates. For example, wa may disclose to an advertiser that a certain number of individuals visited a certain area of Our Website, or that a cerain nu
~a@ centain-number-of women filled-out-Our registration form; but we-would not-disclose-anything that could-be-used-{o-personally identify those Individuals.

    

 

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PRIVACY POLICY - LOAN DOCUMENT (PAGE 2 OF.3)

Finally, we agree that we will never use loan-specific financial information such as Social Security Number or related information, employment information and/or bank
account information ("Sensitive Information") provided to You by us-in any way thal violates or is otherwise unrelated to the means described in this Privacy Policy;
unless we are required to respond to court orders, subpoenas or other legal process.

5. Information collection process. We may use cookies to help customize Your access to the Website and to remember certain user information. A cookie is a text
file we place in Your computer's browser to store Your preferences. Cookies, by themselves, do not tell us Your e-mail address or other personal information untess;
You choose to provide this information to us by, for example, registering al Our Website. We use cookies to understand Internet usage and {o improve Our content,
offerings and advertisements. For example, cookies allow users of the Website to avold logging in more than once, thereby saving time. We may also use cookies to
offer You products, programs or services. Similarly, as part of an arrangement wilh Our business partners (including, those who present or serve ihe adverlisements
thal You see on Our web pages) we may also access cookies placed by others and allow others to access cerlain cookies placed by us. You may, at any time, disable
or refuse to accept cookies by changing the preferences or settings on Your web browser. However, You will not ba able to take advantage of certain automation and
other functionality features available on this. Website. To find out more about cookies, please visit wwvw.cookiecentral.com.

in addition to cookles, we may also use small pieces of code such as “web beacons” or "clear gifs” to collact anonymous and aggregale advertising metrics, such as
tracking the pages that visitors and/or users visit at he Website, for counting page views, and promotion views or advertising responses.. This information will assist in
the formatting for future advertising and marketing campaigns and upgrading visitor information. Additionally, these small pleces of code may also be placed by third
parties to determine the effectiveness of a jolnt promotional or advertising campaign.

&. Encryption, We strive to protect Your personal information, thus, all.user account pages are protected with Secure Socket Layer ("SSL") encryption. All user
accounts must be accessed with usernames and passwords. You.are advised not to share Your username and password wilh any other person. When we store and
transmit Sensitive Information it is encrypted and is protected with SSL software. However, no data transmission over the Internet can be guaranteed to be 100%
secure. We cannot warrant the security of any information that You transmit to us, and You do so at Your own risk.

7. Data security. Once we receive Your transmission of personal information we make reasonable efforts and industry accepted practices to keep Your personal
information safe. This is accomplished by preventing unauthorized access to Our databases and by maintaining dala accuracy. We ensure the correct use of
information by establishing appropriate physical, electronic, and managerial procedures to safeguard and secure the information we collect online. Employees who are
granted access to personal information are dedicated to maintaining the securily and privacy of-all user information. Employees found to not be adhering to Our
managerial procedures are subject to disciplinary action.

8. Scope of this policy; third party websites. Although this policy. applies to the entirety of information obtained by You for the purpose of accessing or using content
controlled and owned by us, it does not apply to entitles that are not owned or controlled by us.

Our Website may link to other third party websites. Please be aware that we do not claim any responsibilily for privacy practices of these third party. sites. We
encourage You to be aware when You leave Our Website and to take reasonable precautions when-sharing Your personal information on third party websites.

9. Children's Privacy. Protecting the privacy of children is especially important to us, For that reason, we never intend to collect or maintain Information at Our
Websile from those we actually know are under the age of 18.

10. Amendments. We reserve the right to amend this-policy at any time. All amended terms automatically take effect thirty (30) days after they are initlally posted on
Our Website,

11. Your right to opt-out. You can opt out of Our use of Your personal information and receiving communications from us and/or Our third-party partners by not
submitting Your personal information during the initial application process. By completing and submitting Your application to us You are opting-in to the services and
products offered on Our Website. .

12. Tribal Sovereign immunity; Choice of law. The Modoc Tribe of Oklahoma Is a federally recognized Indian Tribe, and as such, the Tribe and its subdivisions,
including Red Cedar Services, inc., are not subject to civil suit In any forum whatsoever absent an express waiver of the Tribe's sovereign immunity, In the event of any
dispute or conflict which may arise between You and Your use of Our Website You hereby agree that the laws of the Modoc Tribe of Oklahoma shail govern any and
ail disputes or conflicts, without regard to conflict of law provisions. In addition,.the terms and practices describad in this Privacy Policy will be governed by and
construed in accordance with the laws of the Modoc Tribe of Oklahoma, without regard to conflict of law provisions.. Neither Your use of Our Wabsite nor anything
herein shall be construed or deemed a waiver, impliedly or otherwise, of the sovereign immunity of he Tribe or any of its subdivisions, including Red Cedar Services,
Inc.,

13. Contact. From time to time we may contact You: regarding Your account status and changes {o policies, Please note: You may not unsubscribe from receiving
service announcements and important content updates regarding Our Website, Including but not limited to: service and account changes, Websile upgrades, and site
cancellation or business termination information.

14. Information for ISPs,
Website: 500fastcash.com
Campany name: 500FastCash®

Ernall Address: compliancedepanment@s00fasicash.com

  

  
 

 

 

“Red Cadar Services, Inc. understands the imporlance of protecting consumer nal inforr and the propar use of their personal information. itis Our policy|
~-hot-send-unsolicited-e-mails to-consumers-and-we hope the -following-information wilt aliminate any-concerns thal Your company may have regarding Our practicas-of~
consumers’ personal information.

 

 

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PRIVACY POLICY ~ LOAN DOCUMENT (PAGE 3.OF 3)

500fastcash.com and Its affiliated sites use only an “opt-in or opt-out" methad of obtaining customer information. All personal infomation from consumers is obtained
voluntarily fram the consumer. We obtain personal information from third parties that follow the same set of policies.

All e-mail communications sent by us to consumers include information about the origin of the e-mail and include easily identifiable instructions on how consumers can
unsubscribe from receiving future e-mail messages from us. Below is an example of e-mail communications sent by us to subscribers.

 

This e-mail Is not sent unsolicited. This is a SOOfasicash.com emalling. Offers are sent to subscribets ONLY.
Tha e-mail address You subscribed with is: 80776203@TSSMASTERD.COM

To be removed from Our iist, click here.

View Our Privacy Policy.

ISPs view Our policies.

 

In some instances, 500fastcash.com will enter into a Privacy Policy with a third party website to allow consumers to opt-in to Our marketing program on those third
parly websites. When this occurs we make certain that the third party websites represent and warrant to us that the consumer data was collected voluntarily by
consumer registration and/or co-registrations. We also require that the third party websites have a right under any applicable privacy policy to. transfer the consumer
data to us, and that 500fastcash.com has the right to send marketing offers to the consumer.

We hope this information satisfies any questions or concerns You may have as an |SP regarding Our e-mail practices. If You have addilional questions or wish to
discuss the matter further, please contact us at compliancedeparlment@S500fastcast.com.

       

 

  

 
  

 

 

 

 

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LOAN NOTE’AND DISCLOSURE - LOAN DOCUMENT (PAGE 4 OF 3)

 

LOAN NOTE AND DISCLOSURE

Borrower's Name: THORNSTSSTEST CASTELLITSSTEST Date: 04/05/2012 ID#: S00FastCash-1938396888
Parties: In this Loan Note and Disclosure ("Note") “You" are the person named as Borrower above. "We", Red Cedar Services, Inc. dba §00FastCash, and its
Directors, Officers, Employees acting within the scope of their authority, are the Lender (“Lender’). All references to “We', "Us" or “Ourselves” means the Lender.
Delivery Method of Notices: Unless this Nole specifies otherwise or unless We notify You of a change In wilting, all notices and documents that You are to provide to
Us shall be provided fo 500FastCash at the fax number, email address or mailing address specified in this Note and In Your other loan documents.

The Account: You have deposit account, number ********9880 ("Account"), at First State Bank Middlebury ("Bank"). You authorize Us, 500FastCash, to affect an ACH
credit entry to deposit the proceeds of the “Loan” (the Amount Financed indicated below) to-Your Account at the Bank.

 

 

 

 
 
   
   
     
  
  
  
   
    
  
  
  
 

 

 

 

 

Discfosur Credit Terms: The information in the {allowing box.is part of this Note.
ANNUAL PERCENTAGE , Total of Payments
RATE FINANCE CHARGE Amount Financed | aint Vou wil have paid
The cost of Your credit asa | The dollar amount the credit | The amount of credit provided fatter You have made ihe
yearly rate (e) will cost You. to You or on Your behalf. scheduled payment
0 a
782.14% $120.00 $400.00 $520.00
Payment Schedule: 1 payment of $520.00 due on 2012-04-23, if You decline* he option of renewing Your Loan. If renewal is accepted, You will pay the Finance

Charge of $120.00 only, on 2012-04-23. You will accrue a new Finance Charge.al each renewal of Your Loan. On the due date resulting from a fourth renewal, and
evary due date thereafter, the outstanding principal of Your Loan must be paid down by $50.00. This means Your Account will be debiled for the Finance Charge plus
ja $50.00 principal payment on the due date. This will continue until Your Loan is paid in full. lf Your pay date falls on a weekend or holiday and You have direct
deposit, Your Account will be debited on the business day prior to Your normal pay date. *To decline the option of renewal Your signed Account Summary document
must be received in Our office at least three business days before Your Loan.is due. This Loan may be renewed on the payment of the Finance Charge only.
curity: The Loan is unsecured.
Prepayment: Finance charges are accrued at the time the tean Is funded ar In the case of a renewal, at the tlme You opt to renew. The Annual Percentage Rate is
estimated based on the anticipated dale the proceeds will be deposited to or paid on Your account, which is4-9-2012.
itemization of Amount Financed of $400.00; Distributed to You directly: $400.00; Paid on Your account with Us: $0; Paid to other persons on Your behalf:
$0; Prepaid finance charge: $0. See below and Your other contract documents for any additlonal information about prepayment, nonpayment and default.
Promise to Pay: You promise to pay to Us or to Our order, on the date indicated In the Payment Schedule, the Total of Payments, unless this Note is renewed. If this
Note.is renewed, then on the Due Date, You promise to pay the Finance Charge shown above. This Nole will be renewed on the Due Date unless at least three
business days before the due date either You give Us notice You do not want to renew the Note or We give You notice that the Note will not be renewed, Information
regarding the renewal of Your Loan will be sent to You prior to any renewal showing {he new due date, Finance Charge and all other disclosures. As used in the Note,
the term “Business Day“ means a day other than Saturday, Sunday or legal holiday, that the Lender is open for business. This Note may be renewed four fimes without
having to make any principal payments on the Note. If this Note Is renewed more than four times, then on the due date resulting from Your fourth renewal, and on the
due date resulting from each and every subsequent renewal, You must pay the Finance Charge required to be paid on that due date and make a principal payment of
at least $50.00. Unless you notify US differently, any payment due on the Note shall be. made by Us effecting one or more ACH debit entries to Your Account at the
Bank. You authorize Us to effect this payment by these ACH debit entries. You may revoke this authorization at any time, provided however, you provide us with notice
up to three Business Days prior to the date any payment becomes due on this Note. However, if You revoke this authorization to effect ACH debit entries before the
Loan(s) Is paid in full, You expressly authorize Us to prepare and submit one or more remotely created checks drawn on Your Account(s) on or after the due date of
Your Loan. You agree that Your express authorization to prepare and submit remotely created checks on Your behalf may not be revoked by You if Your Loan Is in
default, as that term is defined below. .
Default: The entire balance of the Loan shall become immediately due and payable without nolification from Us if You fail to make any payment when due as agreed;
or You made any false or misleading statement on any application, financial statement or other writing submitted to Us. If theré are insufficient funds on deposit in Your
Account to effect the ACH debit entry, to pay a check drawn on your Account or to otherwise-cover the Loan payment on the due date, You promise to pay Us all sums
You owe by another form of payment. if You tender Us a check, You authorize Us to perform an ACH debit on that Account in the amount specified.
Return item Fee: If sufficient funds are not available In the Account to cover an-ACH debit entry or, to pay a check drawn on your Account, You agree to pay Us a
Return Item Fee of $30.00.
Prepayment: Although You may pay all or part of Your joan in advance at any lime without penalty, You will not receive a refund or credit of any part.ar all of the
earned Finance Charge. ;
Governing Law: Both parties agree that this Note and Your account shall be governed by all applicable federal laws and all laws of the Modoc Tribe of Oklahoma, the
regulatory aulhorily of Red Cedar Services, Inc. dba 500FastCash, regardless of the state or jurisdiction in which You may reside, and Your electronic signalure below
Is your consent to lhe exclusive exercise of regulatory and adjudicatory authorlly of the Modoc Tribe of Oklahoma over all matters related to this Note and Your
account, expressly and forever forsaking any other Jurisdiction which either party may claini by virtue of any reason, Including residency.
Survival: The provisions of this Loan Nole and Disclosure dealing with the LIMITED WAIVER OF SOVEREIGN IMMUNITY and the ARBITRATION PROVISION shall
survive repayment In full, termination and/or default of this Note.
Ho Bankruptey: By electronically signing this Loan Note and Disclosure You represent that You have not filed for bankruptcy in the prior 90 days and You do not plan
to do so.

   

 

   

: To view Our Privacy Policy please click hare. The Privacy Policy can be viewed at http://SO0lastcash.com/?pane=into_privac
Right to Cancel: You may cancel this Loan withoul cost to You or further obligation to Us, if You do so by the end of business on the business day after the Loan
Proceeds are deposited into Your checking Account. To submit Your cancellation form tog Into Your account at §00fasicash.com.

 

PLEASE READ THE FOLLOWING CAREFULLY AS IT IMPACTS YOUR LEGAL RIGHTS.

 

LIMITED WAIVER OF SOVEREIGN IMMUNITY: AS A WHOLLY OWNED SUBDIVISION OF A FEDERALLY RECOGNIZED INDIAN TRIBE, Red-Cedar Services,
Inc. dha 500FastCash, AND ITS DIRECTORS, OFFICERS, AND EMPLOYEES ACTING WITHIN THE SCOPE OF THEIR AUTHORITY, ARE NOT SUBJECTTO-
SUIT IN ANY COURT IN ANY JURISDICTION, OR ANY OTHER FORUM, ABSENT A WAIVER OF SOVEREIGN IMMUNITY. SOLELY IN ORDER TO PROVIDE
FOR THE RESOLUTION OF A DISPUTE THAT WE CANNOT RESOLVE TO YOUR SATISFACTION, SHOULD ANY OCCUR, Red Cedar Services, Inc. DBA”
S00FastCash HEREBY CONSENTS TO A LIMITED WAIVER OF SOVEREIGN IMMUNITY, AS EXPRESSLY SET FORTH HEREIN, AND FURTHER LIMITED BY:
~“THE-ARBITRATION- PROVISION CONTAINED HEREIN: THIS LIMITED WAIVERIS STRICTLY LIMITED -T0 INDIVIDUAL ARBITRATION-CLAIMS“AS SET FORTH

_.BELOW AND JUDICIAL ACTIONS TO ENFORCE SUCH INDIVIDUAL ARBITRATION. AWARDS. AS STRICTLY LIMITED. HEREIN. Uo co

 

 

     

 

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LOAN NOTE AND DISCLOSURE — LOAN DOCUMENT (PAGE 2 OF 3)

PLEASE BE ADVISED THAT IF YOU CHOOSE TO OPT OUT OF THE FOLLOWING ARBITRATION PROVISION AS DETAILED BELOW, YOUR ONLY OPTION
OF PURSUING A CLAIM AGAINST US FOR ANY UNRESOLVED DISPUTE WILL BE TO TRY TO BRING AN ACTION IN A.COURT OF COMPETENT
JURISDICTION, IF ANY EXISTS, BUT IN ADDITION TO PROVING YOU ARE ENTITLED TO ANY RELIEF OR DANIAGES FROM Red Cedar Services, Inc. DBA
5D0FastCash, YOU MAY ALSO HAVE TO PROVE THAT WE ARE NOT ENTITLED TO THE BENEFITS AND PROTECTIONS OF SOVEREIGN IMMUNITY.

ARBITRATION PROVISION: If any dispule arises that We cannot resolve to your salisfaction, You and We hereby agree that we shall arbitrate that dispute in
accordance with the terms of thls Arbitration Provision, absent You notifying Us of your intent to opt out of this Arbitration Provision as described below.

Arbitration is a process in which persons with a dispute: (a) waive their rights to file a jawsuil and proceed in court and to have a jury trial to resolved their disputes; and
(b).agree, instead, to submit their disputes to a neutral third person (an “arbitrator") for a decision. Each party to the dispute has-an opportunity to present evidence to
the arbitrator. Pre-arbitration discovery may be limited or unavailable. Arbitration proceedings are private and less formal than court trials. The arbitrator will Issue a
final and binding decision resolving the dispute, which may be enforced as a court judgment. A court rarely overturns an arbitrator's decisions.

As used herein, the words "dispute" and "disputes" are given the broadest possibla meaning and include, without limitation and whether past, present or {ulure: (a).all
claims, disputes, or controversies arising from or relating directly or indirectly to the signing of this Arbitration Provision, including the validily and scope of this
Arbitration Provision, or any claim, dispute, or controversy relating to the interpretation, applicability, enforceability or formation of this Note, Including, but not limited to
any claim that all or any part of this Note or Arbitration Provision is void, voidabie, invalid or unenforceable; (b) all-fedoral or state law claims arising from or relating
directly and/or indirectly to {his Note, the Information You gave Us before entering into the Note, and/or any past agreement or agreements between You and Us; (c) all
counterclaims, cross-claims and third party claims; (d) all common law claims, based upon contract, tort, fraud, or other intentional torts; (e) all claims based upon a
violation of any stale or federal constitution, statute or regulation; (f) ali claims asserted by Us against You, including claims for money damages to collect any sum We
claim You owe Us; (g) all claims asserted by You Individually against Us, and/or any of our Directors, Officers, Employees acting within the scope of their aulhority, any
of our agents or servicers and/or any of their employees, directors, officers, shareholders, governors, managers, members, parents, subsidiaries, or any affiliated
entities (hereinafter collectively referred to as “related third parties"), including claims for money damages and/or equitable or injunctive relief; (h) all claims asserted on
your behalf by another person; (i) all claims asserled by You as a private altorney general, as a representative and/or member of a class.of persons, and/or in any
other representative capacity against Us and/or related third parties (hereinafter referred to as "Representative Claims”); and/or (all claims arising:from or relating
directly or indirectly to the disclosure by Us or related third parties of any non-public personal information about You.

Any party to a dispute, including You, Us and/or related third parties, may send the other party(s) written notice by certified mail return receipt requested of thelr intent
to arbitrate and setting forth the subject of ihe dispute along with the rellef requested, even tf a lawsuit has been filed. Regardless of who demands arbitration, the
arbitration shall occur before the American Arbitration Associalion (1-800-778-7879; hitto:uayw.adr.orq). However, the parties may.mutually agree to select a different
arbitrator who Is an attorney, retired judge, or arbitrator registered and in good standing with an arbitration association and arbitrate pursuant to such arbitrator's rules.
The party receiving notice of arbitration shall respond in writing by certified mail retum recelpt requested within twenty (20) days. All parties to such dispute will be
governed by the rules and procedures of the American Arbitration Association applicable to consumer disputes, to the extent those rules and procedures do not
contradict the express terms of this Note or this Arbitration Provision, Including the limitations on the arbitrator below. You may obtain a copy of the rules and
procedures by contacting the American Arbitration Association (1-800-778-7879; hito-//vayw.adr.ord).

Regardiess. of who demands arbilration, We will advance your portion of the expenses associated with the arbitration, including the filing, administrative, hearing and
atbitrator's fees (“Arbitration Fees"). Throughout the arbitration, each parly shall bear his ar her own attorneys’ fees and expenses, such as witness and expert witness
fees. The arbitrator shall-apply applicable substantive law consistent with the Federal Arbitration Act, 9 U.S.C. §§ 1-16 ("FAA") and applicable statules of fimitation, and
shall honor ctaims of privilege recognized at law. The arbitration hearing will be conducted in the county of your residence, unless You agree to a different location. In
conducting the arbitration proceeding, the arbitrator shall not apply any federal or state rules of civil procedure or evidence. If the arbitrator renders a decision or an
award in your favor resolving the dispute, the arbitrator shall award You reasonable attorneys’ fees. lf the arbitrator renders a decision or an award in your favor
resolving the dispute then You will not be responsilbte for reimbursing Us for your portion of the Arbitration Fees and We will reimburse You for any Arbitration Fees
You have previously paid. Regardless of whether the:arbitrator renders a decision or an award in your favor resolving the dispute, You will not be resporisible for
reimbursing Us for your portion of the Arbitration Fees and We are not entitled to an award of attorneys’ fees. At the timely request of any party, the arbitrator shall
provide a written explanation for the award. The arbitrator's award may be filed wilh any court having competent jurisdiction.

You and We expressly acknowledge and agree that this Arbitration Provision is made pursuant to a transaction involving interstate commerce and shall be governed
by the FAA. If a final, non-appealable judgment of a court having competent jurisdiction over this transaction finds, for any reason, that the FAA does not apply to this
transaction, then our agreement to arbitrate shall be governed by the arbitration law of the Modoc Tribe of Oklahoma.

This Arbitration Provision |s binding upon and benefits You, your respective-helrs, successors and assigns. This Arbitration Provision is binding upon and banefits Us,
our successors and assigns, and related third parties. This Arbitration Provision survives the termination of the relationship between You and Us, and continues In full
force and effect, even if your obligations have been cancelled by prepayment, paid or discharged through bankruptcy. This Arbitration Provision survives any
{ermination, amendment, expiration or performance of any transaction between You and Us and continues in full force and effect unless You and We othenwise agree
in writing. You hereby acknowledge and expressly agree that by execuling this Note, submitting it to Us, and accepting the loan proceeds without cancelling your Loan:

BY AGREEING TO THE TERMS OF THIS ARBITRATION PROVISION, YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU ARE WAIVING YOUR RIGHT
TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED AGAINST US OR RELATED THIRD PARTIES.

THIS ARBITRATION PROVISION DOES NOT PREVENT YOU FROM FILING YOUR DISPUTE WITH ANY FEDERAL, STATE OR LOCAL GOVERNMENT
AGENCY THAT CAN, IF THE LAW ALLOWS, SEEK RELIEF AGAINST US ON YOUR BEHALF.

UNLESS YOU EXERCISE YOUR RIGHT TO OPT OUT OF THIS ARBITRATION PROVISION, AS DESCRIBED BELOW, YOU WILL BE FOREVER BOUND BY,
THE TERMS OF THIS ARBITRATION PROVISION, THIS ARBITRATION PROVISION LIMITS CERTAIN OF YOUR LEGAL RIGHTS, INCLUDING ANY RIGHT.
YOU MAY HAVE TO PURSUE A CLAIM OR DISPUTE IN A COURT OF COMPETENT JURISDICTION, YOUR RIGHT TO A JURY TRIAL, AND YOUR RIGHT TO
PURSUE A CLAIM OR DISPUTE AS A CLASS ACTION OR SIMILAR PROCEEDING.. IN ARBITRATION, A DISPUTE IS RESOLVED BY AN ARBITRATOR < -
INSTEAD OF A JUDGE OR JURY. ARBITRATION PROCEDURES ARE SIMPLER AND MORE LIMITED THAN COURT PROCEDURES. YOU SHOULD

--- GONSULT.LEGAL.COUNSEL-TO-DETERMINE-WHETHER-THIS. ARBITRATION-PROVISIONIS APPROPRIATE-FOR-YOU, BY-EXECUTING -FHIS-NO TE, 20-0. nmnens

SUBMITTING IT-TO US, AND. AGCEPTING THE LOAN PROCEEDS WITHOUT CANCELLING YOUR LOAN, YOU-HERBY-AGREE AND ACKNOWLEDGE THAT.

“YOU HAVE HAD THE OPPORTUNITY TO NEGOTIATE THE TERMS OF THIS ARBITRATION PROVISION WITH US BUT HAVE CHOSEN NOT TO AND HAVE
HAD THE OPPORTUNITY TO SEEK THE ADVICE OF LEGAL COUNSEL. THIS ARBITRATION PROVISION IS THEREFORE TO BE INTERPRETED AND

 

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LOAN NOTE AND DISCLOSURE — LOAN DOCUMENT (PAGE’3 OF 3)

APPLIED SUCH THAT YOU AND WE HAVE EQUAL RIGHTS UNDER IT. YOU CAN OPT OUT OF ARBITRATION PROVISION BY FOLLOWING THE
INSTRUCTIONS IN THE NEXT PARAGRAPH OF THIS ARBITRATION PROVISION.

OPT-OUT OF ARBITRATION PROVISION: YOU {BUT NOT WE) HAVE THE SOLE RIGHT TO REJECT THIS ARBITRATION PROVISION AS A MEANS OF
ATTEMPTING TO RESOLVE DISPUTES WITH US AT ANY TIME WITHIN THIRTY (30) DAYS FOLLOWING YOUR ELECTRONIC SIGNATURE ON THIS. NOTE.
THATIS, IF, AFTER SIGNING THIS NOTE, YOU CHOOSE TO NOT BE BOUND BY THE ARBITRATION PROVISION AS A MEANS OF RESOLVING DISPUTES,
‘THEN YOU GAN REJECT THE ARBITRATION PROVISION BY GIVING US WRITTEN NOTICE OF YOUR REJECTION OF THE ARBITRATION PROVISION BY E-
MAILING US AT ARBITRATIONOPTOUT@500fastcagh.com. YOUR E-MAIL TO US OPTING OUT OF THIS ARBITRATION PROVISION SHOULD INCLUDE
YOUR NAME, ADDRESS AND THE LOAN ID IDENTIFIED ABOVE AS WELL AS A STATEMENT THAT YOU DO NOT WISH TO RESOLVE DISPUTES WITH US
THROUGH ARBITRATION. YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU MAY ONLY OPT OUT OF THIS ARBITRATION PROVISION IN THE
MANNER DESCRIBED ABOVE AND ITIS NOT SUFFICIENT TO NOTIFY US OF YOUR INTENT TO OPT OUT OF THIS ARBITRATION PROVISION VIA
TELEPHONE OR ANY OTHER MEANS. YOU CAN ONLY REJECT THE ARBITRATION PROVISION UNTIL THE THIRTIETH (30th) DAY, THEREAFTER YOU.
WILL BE BOUND BY THE TERMS OF THE ARBITRATION PROVISION, YOUR DECISION TO OPT OUT OF THE ARBITRATION PROVISION WILL HAVE NO
ADVERSE EFFECT ON YOUR THE SERVICING AND COLLECTION YOUR LOAN. IF YOU REJECT THE ARBITRATION AGREEMENT, YOUR REJECTION
APPLIES ONLY TO DISPUTES ARISING OUT OF THIS NOTE AND NOT TO FUTURE AGREEMENTS BETWEEN YOU AND US.

WAIVER OF JURY TRIAL: BY AGREEING TO THE TERMS OF THIS ARBITRATION PROVISION, YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU
ARE WAIVING YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED AGAINST US OR AGAINST A RELATED THIRD PARTY.

CLASS-ACTION/IREPRESENTATIVE WAIVER: BY AGREEING TO THE TERMS OF THIS ARBITRATION PROVISION, YOU HEREBY AGREE AND
ACKNOWLEDGE THAT YOU ARE WAIVING YOUR RIGHT TO PURSUE OR PARTICIPATE IN REPRESENTATIVE CLAIMS AND YOU THEREFORE WILL NOT
BE ALLOWED TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR TO
PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS, IN ANY LAWSUIT FILED AGAINST US AND/OR RELATED THIRD PARTIES. THEREFORE, THE
ARBITRATOR SHALL NOT CONDUCT CLASS ARBITRATION; THAT IS, THE ARBITRATOR SHALL NOT ALLOW YOU.TO SERVE AS A REPRESENTATIVE,
AS A PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY FOR OTHERS IN THE ARBITRATION,

By elactronically signing this Loan Note and Disclosure, | hereby acknowledge that | have read the Loan Note and Disclosure in its entirety, that | have carefully
raviewad all of the terms and provisions contained In this Laan Note and Disclosure, that | have fully understand and comprehend the meaning of each and every
word, phrase and provision contained in this Loan Note and Disclosure and that | hereby agree to abide by and be bound all of the terms and provisions in this Loan
Note and Disclosure, including the terms and provisions of this Loan Note and Disclosure dealing with the LIMITED WAIVER OF SOVEREIGN IMMUNITY and the
ARBITRATION PROVISION.

 

THORNSTSSTEST CASTELLITSSTEST 04/05/2012
Printed Name of Applicant Date

   

     

 

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AUTHORIZATION TO AFFECT ACH CREDIT AND DEBIT ENTRIES — LOAN DOCUMENT (PAGE 1 OF 1):

1938396888 Authorization to Affect ACH
Credit and Debit Entries

 

Credit Authorization

You have deposit account, number ********9880 (“Account’), at First State Bank Middlebury ("Bank"), You authorize Us, Red Cedar Services, Inc. dba S00FastCash, to
affect an ACH credit entry to deposit the proceeds of the Loan (the Amount Financed indicated on Your Loan Note and Disclosure) to Your Account at the Bank.

Oebit Authorization

You authorize Us, 500FastCash, or Our servicer, agent, or affiliate to initiate one or mere ACH debit entries (for example, at Our option one debit entry may be made
for the principal of the loan and another for a finance charge) to Your Account indicated below for payments that come due each pay period and / or each due date
conceming every renewal, If applicable, with regard to the Loan for which You are applying. If Your pay date falls on a weekend or holiday and You have direct. deposit,
Your account will be debited the business day prior to Your normal pay date unless you contact Us to make other arrangements, Should you wish to adjust Your
payment schedule, please contact Customer Service at least 3 business ahead of Your scheduled due date via email at customerservice@500FasiCash.com or via fax
at 1-800-416-1619 or by logging into Your account at 500fastcash.com. You REPRESENT that Your Account at the Depository Inslitulion named below, called Bank, is
capable of recaiving such debit such entries:

 

Bank Name Routing/ABA No. Account No. Account Type
First State Bank Middlebury |. 071208297 WHARAEHIQE RG Checking

 

 

 

 

 

 

This authorization becomes effective at the lime we approve the Loan for which You-are applying and will remain in full force and effect until we have received written
notice from You of its termination. This authorizes Us to make ACH debit entries with regard to any other loan You may have received with Us. You may revoke this
authorization to affect an ACH debit entry to Your Account(s) by giving written notice of revocation to Us, which must be received no later than 3 business days prior to
the due date of Your scheduled payment. In order to revoke this authorization to affect an ACH debit antry to Your Account(s), You must notify Us in writing at
500FastCash 515 G SE Miami, OK 74354 or via email at customerservice@500FastCash.com or via fax at 1-800-416-1619.

if there are insufficient funds in Your Account on the date we attemptto affect an ACH debit entry to pay. all or part of what You owe, You will incur a Return tem Fee
of $30.00. Your Bank may also Impose fees for returming ACH debit entrlas unpaid and if this practice persists, may even cancel Your deposit account.

if there is any change In Your bank information above (Bank name or Account information), You MUST PROVIDE US WITH UPDATED INFORMATION AND
COMPLETE A NEW AUTHORIZATION TO AFFECT ACH CREDIT AND DEBIT ENTRIES. You authorize Us to correct any missing or erroneous information that You
provide by calling the Bank.

 

04/05/2012 THORNSTSSTEST CASTELLITSSTEST
Date Print Name of Applicant

 

 

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ELECTRONIC DISCLOSURE AND CONSENT AGREEMENT — - LOAN DOCUMENT (PAGE 1.O0F 4)
Electronic Disclosure and Consent Agreement
You are submitting an application to Red Cedar Services, Inc. dba 500FastCash via the internet. In order ta process this application, SOOFastCash needs You to agree to recelve certain
disclosures and documents electronically. This Electronic Disclosure and Consent Agreement applies to this application and any other communications We may provide to You during
the process of Your applying for or Us servicing Your account. By submitting Your application You agree to receive all such disclosures and documents In electronic form or aniline in
accordance with this document. You may withdraw Your cansent prior to submitting Your application by exiting the application website or by closing Your browser. However, You will
not be able to submit Your application if You withdraw Your consent by exiting the website or closing Your browser. in addition, because We are required-to provide You with certain
disclosures and documents prior to extending an offer to You, You cannot withdraw Your consent after the submission of Your application.

1. To access, view and retain tha documents that We make available to You in electronic form, You must have the following hardware and software (We have Included
Our recommended hardware and system requirements):

An Internet browser that supporls 128-bit encryption (Microsoft Explorer 6.0 or higher [7.0 or higher recommended], Firefox 1.5 or higher);
Sufficient electronic storage capacity on Your computer's hard drive or other data storage unit (64MB of memory);
An e-mail account with an intemet service provider and e-mail software in order to receive electronic communications fram Us (66k modem);

A personal computer (equipped with 133MHz processor and 1024 x 768 screen rasolution is recommended), operating system and telecommunications
connections to the Internet capable of receiving, accessing, displaying and either printing or storing Account Documents received from Us in electronic form
via a plain text-formatted e-mail or by access to Our website-using one of the browsers specified above.

© Adobe® Acrobat Reader (5.0 or higher).

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It is likely (hat You are already using all the hardware and software You need to access the disclosures and documents electronically as You are accessing this
Electronic Disclosure and Consent Agreement via the Internet.

2. You consent to receive any disclosures or documents in electronic format.

3. All documents that We provide to:You in electronic format will be provided either (i) via e-mail; (ii) by access to a secure customer service website which will be
provided to You in ane-mail notice We send to You when the documents are available; or (iii) by posting on.a website that We designate for that purpose.

4. All documents provided in electronic or paper format from Us to You will be considered "in writing." You should print a copy of Your Account Documents for Your
records by using the “print” button in. Your browser.

§. You are required to provide Us with an accurate and complete e-mail address and other information related to Your account and to maintain and update any
changes to the information promptly. You can update information by contacting Us 1-688-919-6669 or by accessing Your account online at 500fastcash.com.

6. You may obtain any disclosures or documents in paper form without charge from Us by printing them Yourself from Our website. At Your request, We will provide
You with a paper copy of any disclosures or documents (to the extent We maintain the ability to print such paper copies) al no cost. Contact Us in writing at
500FastCash 515 G SE Miami, OK 74354 and list the documents by name that You wish fo have provided as a paper copy. The letter will need to include Your name,
application id and a contact number where We can reach You should We have any questions regarding Your request. Your request will also need to Include an
address or fax number where You can receive the paper copies of the documents. Please allow.up to 14 days for this request to be processed.

7. We reserve the right, in Our sole discretion, to discontinue electronic provision of documents. We will provide You with notice of any such termination or change as
required by law.

8. You agree and We both intend the federal Electronic Signatures in Global and. Natlonal Commerce Act to apply to (1) this Consent to receive documents In electronic
form; (if) Your application; and (iil) Our ability to conduct business with You by electronic means.

9. To facilitale electronic commerce, to reduce the expense of records storage, and to obtain the benefits of faster access to records, You acknowledge and agree that
We may in Our discretion store all records electronically; and that We will not retain and have no obligation to retain any original or electronic documents for any period
of time beyond the regulatory requirements. This applies to all documentation including but not limited to checks, transaction records, notes, applications, faxes, email
correspondence and other joan documentation. You further acknowledge and understand that We will routinely destroy all orlginal and electronic documentation but
not before the period of time designated by regulatory requirements. We may store records electronically via Imaging, scanning, filming or other technology used in the
financial services industry for the storage of documentation via internal processes or third-party processors (hat We approve for these services. You agree that such
storage shall be secure, and further agree that such records shall for all purposes be recognized and admissible in eviderice or olherwise to prove the agreemants,
tights and obligations of the parties pursuant to any such records.

10. By completing and submitting Your application, You (i) confirm Your consent to receive disclosures and documents in electronic formal; (il) affirmatively
demonstrate Your ability to access the documents in electronic form; (ili) confirm that You have provided a current e-mail address at which We can send electronic
documents to You; iv) acknowledge that You have accessed {he Consent: and (v) agree to the terms of this Consent.

04/05/2012 THORNSTSSTEST CASTELLITSSTEST
Date Print Name of Applicant

 

 

 

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CONFIRMATION EMAIL — SENT IMMEDIATELY FOLLOWING THE APPLICATION SUBMISSION (PAGE 1 OF 1)
Re: Confirmation # 1938397067

Dear BROCK TSSTEST SHANATSSTEST,
We have received confirmation that your loan details are correct. This is the final step in processing your loan of
400.00.

It is currently anticipated that the proceeds of your loan will be sent to your bank at midnight on 04/09/2012.
Depending on your bank, your funds should be available on the next business day.

You will receive a confirmation email when the funds have been sent.

To view your loan status at any time you may log in to: http://re. 500FastCash.com/

Username: BSHANATSSTEST_I

Password: agkUSKd9ptSI

Questions?

Contact us at: 1-888-919-6669

* Dates are estimates only. Unless you have received your confirmation email that the funds have been sent to your

bank, your loan has not been completed. As always, please check with your individual bank to ensure the cash has
been posted to your account.

Confidentiality Statement & Notice: This email is covered by the Electronic Communications Privacy Act, 18 U.S.C. 2510-2521 and intended only
for the use of the individual or entity to whom it is addressed. Any review, retransmission, dissemination to unauthorized persons or other use of
the original message and any attachments is strictly prohibited, If you received this electronic transmission in error, please reply to the above-
referenced sender about the error and permanently delete this message. Thank you for your cooperation.

 

   
    

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APPROVAL TERMS LETTER — SENT WHEN APPLICATION IS. FUNDED AND STATUS CHANGED TO PRE-FUND (PAGE

1 OF 2)
Attention: egammagmms [ys
Application ID#: aaa

Congratulations, your loan in the amount of $200.00 has been approved. The cash will be-sent to your bank on
03/15/2012*. It will be up to your bank to post the funds to your account, though the posting usually takes place
the next business day. If you have questions regarding your deposit, please call your bank and ask for the ACH
Department to verify posting.

In the future, you can view the status of your loan at 500fastcash.com.

If you have further questions about your account, please contact us at customerservice@500FastCash.com or call
us at 1-888-919-6669. We are open Monday through Thursday 8:00 AM to 4:30 PM. and Friday 8:00 AM to 3:30
PM.

Thank you,

500FastCash

*Dates are estimates only.

PLEASE REVIEW THE FOLLOWING REMINDERS REGARDING YOUR LOAN:

Loan Receipt:

By receiving a loan through 500FastCash you agree that your loan will be renewed on every due date unless you
request to pay in full or to pay down your principal amount borrowed, at least 3 full business days prior to your
next due date. If you do not notify 500FastCash, 3 full business days prior to your due date, you will only pay the
interest fee plus any scheduled pay downs on your due date. If your loan is renewed, you will acquire a new
interest fee. If your pay date falls on a weekend or holiday and you have direct deposit; your account will be
debited the business day prior to your normal pay date.

Renewal:
Your loan is always due on your paydays. By receiving a loan through 500FastCash you agree that your loan will!
be renewed unless you request to pay down an additional amount against your principal, or pay out the balance in
full. Renewing your loan means that you will pay the renewal fee (only) on this due date. Every time your loan is
renewed, you will accrue a new renewal fee. You can renew your loan four times, On the FIFTH and subsequent
due dates, you must pay the renewal fee plus pay down your balance by $50.00. This is called an automatic pay
down. When in automatic pay down, your principal loan amount and renewal fee will decrease. (EXAMPLE: For a
$300.00 dollar loan the fee is $90.00, On the Sth due date, you pay $140.00 which equals the $90.00 renewal fee
plus the $50.00 pay down. Consequently, your principal balance will be $250.00 with a new renewal fee of
$75.00.) Once the automatic pay down has begun, your loan must be paid down every due date until it is paid in
full.
Pay Down: mt oS
. You can pay down your principal amount by increments of $50.00, Paying down will decrease the fee char ged for
-—---tenewal._To. accept this.option -you_must notify_u us. of your-request in ‘writing. via fax. -at.. 180024 =A 6= 1619, -at least 3_______
“ful bosiness-days-prior-to-your-due-date.— ee

 

 

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APPROVAL TERMS LETTER ~ SENT WHEN APPLICATION IS FUNDED AND STATUS CHANGED TO PRE-FUND (PAGE
2 OF 2)

If for any reason you do not wish to renew your loan, meaning you wish to pay the full amount due on this due

date please ‘centact our customer service department at customerservice@500FastCash.com or 1-888-919-6669.

There is a three-day rulé on a full pay out or pay down on your loan. We need to receive the documentation
in our office by 4:30 p.m. THREE FULL BUSINESS DAYS prior to your due date. That means if you are
due on Friday, we need to have the document by 4:30 p.m. on Monday.

If we do not receive the documentation, in time, your loan will be renewed.

By receiving a loan with 500FastCash you have agreed to the terms listed. below:

AGREEMENT TO ARBITRATE DISPUTES: By signing the application and to induce us, 500FastCash, to
process and consider your application for a loan, you and we agree that any and all claims, disputes or
controversies that we or our servicers or agents have against you or that you have against us, our servicers, agents,
directors, officers and employees, that arise out of your application for a loan, the Loan Agreement that you must
sign to obtain the loan, this agreement to arbitrate disputes, collection of the loan, or alleging fraud or
misrepresentation, whether under the common law or pursuant to federal or state statute or regulation, or
otherwise, shall be resolved by binding individual (and not class) arbitration by and under the Code of Procedure
of the National Arbitration Forum ("NAF" ) in effect at the time the claim is filed. This agreement to arbitrate
disputes shall apply no matter by whom or against whom the claim is filed. Rules and forms of the NAF may be
obtained and all claims shall be filed at any NAF office, on the World Wide Web at www.arb-forum.com, or at
National Arbitration Forum, P.O. Box 50191, Minneapolis, Minnesota 55405. If you are unable to pay the costs of
arbitration, your arbitration fees will be waived by the NAF. Any arbitration hearing, if one is held, will take place
at a location near your residence. This arbitration agreement is made pursuant to a transaction involving interstate
commerce. It shall be governed by the Federal Arbitration Act, 9 U.S.C. Sections 1-16. Judgment upon the award
may be entered by any party in any court having jurisdiction. This Agreement To Arbitrate Disputes is an
independent agreement and shall survive the closing and repayment of the loan for which you are applying.
NOTICE: YOU AND WE WOULD HAVE HAD A RIGHT OR OPPORTUNITY TO LITIGATE DISPUTES
THROUGH A COURT AND HAVE A JUDGE OR JURY DECIDE THE DISPUTES BUT HAVE AGREED
INSTEAD TO RESOLVE DISPUTES THROUGH BINDING ARBITRATION.

AGREEMENT NOT TO BRING, JOIN OR PARTICIPATE IN CLASS ACTIONS: To the extent permitted by
law, by signing below you agree that you will not bring, join or participate in any class action as to any claim,
dispute or controversy you may have against us or our agents, servicers, directors, officers and employees. You
agree to the entry of injunctive relief to stop such a lawsuit or to remove you as a participant in the suit. This
agreement is not a waiver of any of your rights and remedies to pursue a claim individually and not as a class
action in binding arbitration as provided above.

Governing Law: Both parties agree that this Note and your account shall be governed by all applicable federal
laws and all laws of the jurisdiction in which the Lender is located, regardless of which state you may reside, and
by signing below or by your electronic signature, you hereby contractually consent to the exclusive exercise of
regulatory and adjudicatory authority by the jurisdiction in which the Lenders is located over all matters related to
this Note and your account, forsaking any other jurisdiction which either party may claim by virtue of residency.

Confidentiality Statement & Notice: This email Is covered by the Electronic Communications Privacy Act, 18 U.S.C. 2510-2521 and intended. only
for the use of the individual or entity to whom it is addressed. Any review, retransmission, dissemination to unauthorized persons or other use of
the original message and any attachments's strictly prohibited. If you received this electronic transmission in error, please reply to the above-
referenced sender about the error and permanently delete this message. Thank you for your cooperation,

 

 

 

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APPROVAL FUND LETTER ~ SENT WHEN APPLICATION FUNDS ARE SENT VIA'ACH AND STATUS CHANGED TO
ACTIVE (PAGE .1.0F.1):

 

Phone Number: 1-888-919-6669
Kmail: eustomerservice@500FastCash.com
Website: 500fastcash.com

 

Attention
Application ID#: Ee

It is currently anticipated that the proceeds of your loan will be sent to your bank on 03-16-2012*. It will be up to
your bank to post the funds to your account, though the posting usually happens the next business day. If you have
questions regarding your deposit, please call your bank and ask for the ACH Department to verify posting.

To view your loan status at any time you may visit our website at 500fastcash.com. You will receive a link with
payment options Please follow the instructions below:

e Open the link
e Login using your username and password

Username:
Password:

e Select "click here to view payment options"
e Select your payment option

If you have further questions about your account, please contact us at customerservice@500F astCash.com or call
us at 1-888-919-6669. We are open Monday through Thursday. 8:00 AM to 4:30 PM and Friday 8:00 AM to 3:30
PM.

Thank you,.

500FastCash

*Your loan is still subject to final approval. Dates are estimates only.

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